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                   9     ALEXANDER DALLAL and CLAIRE DALLAL
                 10
                                              UNITED STATES DISTRICT COURT
                 11
                                 CENTRAL DISTRICT OF CALIFORNIA, CENTRAL DIVISION
                 12
                 13
                         LINCOLN BENEFIT LIFE                       Case No. 2:16-cv-9307 MWF (Ex)
                 14      COMPANY, a Nebraska Corporation,
                                                                    [PROPOSED] CONCLUSIONS OF
                 15                      Plaintiff,                 LAW BY DEFENDANTS ALEX
                                                                    DALLAL AND CLAIRE DALLAL
                 16      v.
                                                                    Trial (Held):
                 17      ALEXANDER DALLAL, an                       Date: July 31 – August 13, 2018
                         individual; CLAIRE DALLAL, an              Time: 8:30 a.m.
                 18      individual; and DOES 1 through 10,         Ctrm: 5A
                         Inclusive,
                 19
                                         Defendants.
                 20
                 21
                 22             TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                 23      At the Court’s request, Defendants Alexander Dallal and Claire Dallal hereby
                 24      submit (Proposed) Conclusions of Law for the Court’s use in considering Plaintiff’s
                 25      First and Third Claims for Relief in the First Amended Complaint. These
                 26      (Proposed) Conclusions of Law supplements Defendants’ concurrently-filed
                 27      Objections and Responses to Plaintiff’s (Proposed) Findings of Fact and
                 28      Conclusions of Law, and Defendants’ concurrently-filed Additional (Proposed)
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                     1    Findings of Fact. To the extent any conclusions of law are incorporated within
                     2    Defendants’ concurrently-filed Additional (Proposed) Findings of Fact, they shall
                     3    be deemed conclusions of law. To the extent any findings of fact are incorporated
                     4    herein, they shall be deemed findings of fact.
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                   1                    [DEFENDANTS’ PROPOSED] CONCLUSIONS OF LAW
                   2          1.         Lincoln Benefit is not entitled to judgment on its First and Third Causes
                   3     of Action within its First Amended Complaint.
                   4
                   5     I.        PLAINTIFF IS NOT ENTITLED TO JUDGMENT ON ITS THIRD
                   6               CLAIM FOR RELIEF
                   7          2.         Plaintiff is not entitled to judgment on its Third Claim for Relief to void
                   8     the Long Term Care policy it issued to Defendants Alexander (“Alex”) Dallal and
                   9     Claire Dallal (the “Policy”), as it fails to identify the facts entitling it to such a
                 10      drastic response. Even if Plaintiff were entitled to void, rescind, or cancel the
                 11      Policy as it relates to Mr. Dallal’s benefits, Claire Dallal would still be entitled to
                 12      remain as an insured.
                 13
                 14                A.      The Policy is Two Separate Policies, Covering Each Defendant
                 15                        Individually
                 16           3.         As a matter of law, the Policy issued to Alex and Claire Dallal is in
                 17      reality two separate policies — one covering Mr. Dallal, and one covering Claire
                 18      Dallal. As such, misrepresentations made regarding one party do not justify
                 19      rescission of the other party’s policy. Coca Cola Bottling Co. of San Diego v.
                 20      Columbia Cas. Ins. Co. (1992) 11 Cal.App.4th 1176, 1188-1189. Factors justifying
                 21      treating the Policy as two separate policies include:
                 22                     • The fact that by the terms of the Policy, Alex and Claire Dallal were
                 23                        rated separately as risks in calculating the premium charged. Trial
                 24                        Exhibit (“TE”) 301, at “Joint Coverage Endorsement,” p. 301-15 (“Al1
                 25                        benefit amounts and maximums as described in the policy are
                 26                        available to each of you separately. Each of you must separately
                 27                        qualify for the benefits as described in the policy.”)
                 28
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                     1
                     2                  • If one insured dies, the other may continue the Policy at a lower rate.
                     3                     Id. (“If one of you dies . . . coverage continues for the surviving
                     4                     insured at the premium rate that would have been charged for an
                     5                     individual policy at the original issue age and risk class of the
                     6                     surviving insured”)’ see also, 301-16. In other words, the premium
                     7                     charged under the Policy is the combination of two individual
                     8                     premium calculations.
                     9                  • The alleged misrepresentations are only material to Alex Dallal’s
                 10                        coverage. They relate only to Alex Dallal’s condition and treatment,
                 11                        based on claims submitted on Alex Dallal’s behalf. Coca Cola
                 12                        Bottling Co. of San Diego, supra 11 Cal.App.4th at 1188-1189; H.
                 13                        Walter Croskey, et al., California Practice Guide: Insurance
                 14                        Litigation, § 5:152 (Aug. 2017).
                 15
                 16                B.      The Remedy Plaintiff Seeks is Not Allowed by Statute or the Policy
                 17           4.         Plaintiff does not identify any statute, regulation, or rule authorizing the
                 18       remedy it seeks — specifically: “The entire Policy, including [Claire Dallal’s] joint
                 19       policy, should therefore be voided from the time that the fraud began.” Dkt. No. 51
                 20       at ¶ 67. Plaintiff instead relies on statutes and case law supporting other types of
                 21       remedies in other types of cases. In doing so, Plaintiff treats “rescission,”
                 22       “cancellation,” and “voiding” as interchangeable terms, in an effort to make its
                 23       citations appear more applicable.
                 24           5.         Rescission” is a “retroactive termination” of a contract, as compared to
                 25       “cancellation,” which is a “prospective termination.” Barrera v. State Farm
                 26       Mut. (1969) 71 Cal.2d 659, 663, fn. 3. “The consequence of rescission is not only
                 27       the termination of further liability, but also the restoration of the parties to their
                 28       former positions by requiring each to return whatever consideration has been
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                     1    received.” Imperial Casualty & Indemnity Co. v. Sogomonian (1988) 198
                     2    Cal.App.3d 169, 184 (emphasis added); Nmsbpcsldhb v. Cty. of Fresno (2007) 152
                     3    Cal. App. 4th 954, 960. Rescission and cancellation (or “voiding”) are thus
                     4    different remedies with different grounds and factors for consideration. By seeking
                     5    to prospectively void the policy beginning at a certain date (and – notably – not
                     6    offering to return the premiums paid on the Policy, with interest), the remedy
                     7    Plaintiff seeks is more akin to cancellation than rescission.
                     8           6.   Unless specifically allowed by the Policy, or otherwise authorized by
                     9    statute, an insurer has no right to simply cancel a policy. “[I]nsurance contracts can
                 10       generally be cancelled only pursuant to their terms or by mutual consent.” Spott
                 11       Electrical Co. v. Industrial Indem. Co. (1973) 30 Cal.App.3d 797, 806. Here,
                 12       Plaintiffs have specifically agreed to make this policy non-cancellable, or
                 13       “guaranteed renewable,” in the terminology of the insurance industry. TE 301 at p.
                 14       301-01: [“This policy is guaranteed renewable for life . . . We cannot refuse to
                 15       renew this policy or place any restrictions on it if the premium is paid on time.”
                 16       (emphasis added)].
                 17              7.   Furthermore, Plaintiff cannot rely on a fraud clause to justify
                 18       cancellation, because none exists in this policy, and Plaintiffs have not attempted to
                 19       argue that one exists. Construing the policy so as “to give protection to the
                 20       insured,” the proper legal conclusion is to assume Plaintiff considered and rejected
                 21       a fraud-cancellation clause. Sampson v. Century Indem. Co. (1937) 8 Cal. 2d 476,
                 22       478.
                 23              8.   In the absence of such a clause, Plaintiff cannot present a factual basis
                 24       justifying cancellation, particularly cancellation of Mrs. Dallal’s policy. Plaintiff
                 25       agreed to make the policy “guaranteed renewable for life,” and chose not to include
                 26       a fraud clause. Having made these choices, Plaintiff cannot now cobble together a
                 27       unique legal principle that ignores its own guarantee and creates a fraud-
                 28       cancellation clause where none exists.
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                     1        9.     Thus, to prevail on the Third Cause of Action, Plaintiff must present
                     2    evidence establishing one of the four conditions for policy termination. Those
                     3    conditions are:
                     4              • Payment of the maximum amount pursuant to the Policy’s payment
                     5                 schedule;
                     6              • Non-payment of the policy premium;
                     7              • A request by the insured to cancel the policy; or
                     8              • The death of the insureds. TE 301 at 301-10 and 301-16.
                     9    Because Plaintiff refers to no such evidence, Plaintiff must be denied judgment.
                 10
                 11                    1.     The remedy Plaintiff seeks is not available under Cal. Code of
                 12                           Civil Procedure § 3412
                 13           10.    Plaintiff’s attempts to fashion an equitable remedy are unavailing.
                 14       Plaintiff first proposes the cancellation of an “instrument” is an equitable remedy
                 15       authorized by Code of Civil Procedure § 3412. See Dkt. No. 189-1, Plaintiff’s
                 16       Findings of Fact and Conclusions of Law, at ¶ 191. But longstanding authority
                 17       establishes that equity will not cancel an instrument when there is a clear remedy at
                 18       law. See, e.g., Lewis v. Tobias (1858) 10 Cal. 574, 575. Here, there is a clear
                 19       remedy at law, and Plaintiff has availed itself of that remedy to great effect.
                 20           11.    That Section 3412 relates to rescission and not a going-forward
                 21       cancellation is shown by more than a century of cases analyzing the statute, which
                 22       discuss Section 3412 in the context of pre-formation fraud or inability to contract
                 23       (usually in a real estate context). See, e.g., Upton v. Archer (1871) 41 Cal. 85 (deed
                 24       void from its inception for lack of agent’s authority to contract); Moore v. Moore
                 25       (1880) 56 Cal. 89 (conveyance can be set aside due to “great weakness of mind” in
                 26       the person executing the conveyance of land, when the consideration is grossly
                 27       inadequate); Compass Bank v. Petersen, 886 F.Supp.2d 1186 (C.D. Cal. 2012)
                 28       (borrowers’ mortgage and real estate companies had no authority to issue a
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                     1    reconveyance of deed of trust); Shaffer v. Security Trust & Savings Bank (1935) 4
                     2    Cal.App.2d 707 (cancellation of an instrument from its formation based on “mental
                     3    weakness,” inadequacy of consideration, undue influence, or a mistaken impression
                     4    as to nature and effect of the instrument).
                     5        12.    Further, courts can and do refuse to cancel instruments even when
                     6    defendant has committed fraud, when plaintiff cannot establish the fraud rendered
                     7    the instrument invalid from its inception. See, e.g., Johnson v. PNC Mortgage, 80
                     8    F.Supp.3d 980 (N.D. Cal. 2015); Saterbak v. JPMorgan Chase Bank, N.A. (2016)
                     9    245 Cal.App.4th 808; M.F. Farming Co. v. Couch Distributing Co., Inc. (2012) 207
                 10       Cal.App.4th 180.
                 11           13.    Plaintiff seeks support in U.S. Bank National Assn. v. Naifeh (“Naifeh”),
                 12       claiming it stands for the proposition that “documents can be voided based on
                 13       fraud.” Dkt. No. 189-1 at ¶ 191, citing Naifeh at p. 778. But Naifeh does not allow
                 14       voiding or cancelling an instrument in the absence of a fraud-cancellation clause.
                 15       Instead, the remedy sought in Naifeh was rescission, not cancellation going
                 16       forward, based on the fact the documents at issue were themselves fraudulent at
                 17       their creation. Naifeh at 778-789 and 786-787. Naifeh thus does not speak to the
                 18       question of whether a going-forward cancellation is even available to Plaintiff
                 19       under the circumstances.
                 20           14.    Plaintiff points to Corrigan v. Stiltz for the proposition that “[t]he
                 21       remedy of cancellation of instruments is equitable . . .” Dkt. No. 189-1 at ¶ 102
                 22       (quoting Corrigan v. Stiltz (1965) 233 Cal.App.2d 381, 387). But Corrigan is
                 23       about the applicability of the affirmative defense of laches, and in more than fifty
                 24       years since the decision, it has been referenced only eight times in citable cases, and
                 25       then only for its holdings regarding the timeliness of suit or of objections — never
                 26       for any proposition regarding the equitable remedy of cancellation of instruments.
                 27       See, Yakov v. Bd. of Med. Examiners (1968) 68 Cal. 2d 67, 71; Seeley v. Combs
                 28       (1966) 65 Cal. 2d 127, 137; Choi v. Sagemark Consulting (2017) 18 Cal. App. 5th
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                     1    308, 322; In re Marriage of Dancy (2000) 82 Cal. App. 4th 1142, 1158–59; City
                     2    etc. of San Francisco v. City Inv. Corp. (1971) 15 Cal. App. 3d 1031, 1040; Rouse
                     3    v. Underwood (1966) 242 Cal. App. 2d 316, 328; Twomey v. Mitchum, Jones &
                     4    Templeton, Inc. (1968) 262 Cal. App. 2d 690, 724. At most, Corrigan is an outlier.
                     5
                     6                 2.    Plaintiff misconstrues its burden based on its own cited authority
                     7        15.    Plaintiff asserts all it must do to prevail on the present cause of action is
                     8    establish: “(1) the instrument is void or voidable due to, for example, fraud; and (2)
                     9    there is a reasonable apprehension of serious injury including pecuniary loss or the
                 10       prejudicial alteration of one’s position.” Dkt. No. 189-1 at ¶ 193 (citing Naifeh at
                 11       778, and Turner v. Turner (1959) 167 Cal.App.2d 636, 641. But Plaintiff
                 12       misconstrues its burden, as shown by its own cited cases.
                 13           16.    In Naifeh, the “instruments” were “voidable” because they were
                 14       fraudulently created, “in that appellants did not have the authority they claimed to
                 15       execute and record the documents.” Naifeh at 778. The plaintiff established
                 16       prejudice and pecuniary loss by showing an imminent and definable threat to its
                 17       interests of the fraudulent documents were not cancelled:
                 18                    The fraudulent documents that appellants recorded
                 19                    prejudiced respondent, since the documents they
                 20                    recorded before the trustee’s sale affected the amounts
                 21                    recovered on the Loan, and the documents they recorded
                 22                    after the trustee’s sale deprived respondent of clear title
                 23                    to the Property. Id. at 779.
                 24           17.    In Turner v. Turner, a father sought to annul his son’s marriage on the
                 25       basis that the young woman in question fraudulently represented she was pregnant,
                 26       and Turner fils was the father. Turner, supra, 167 Cal. App. 2d at 638–39. The
                 27       “instrument” to be cancelled was the marriage itself. As in Naifeh, the plaintiff
                 28       sought to cancel the instrument (the marriage) from the outset, as if it had never
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                     1    happened, and it was “voidable” because the consent to the marriage was gained by
                     2    fraud. Id. at 641. “Since the consent to the marriage was obtained by fraud, the
                     3    marriage is voidable.” Id. And as in Naifeh, the prejudice was real and immediate:
                     4                 That plaintiff altered his position to his prejudice by
                     5                 giving his consent to the marriage is patent. The purpose
                     6                 of a statute providing that a marriage license shall not be
                     7                 issued to a person under age without the consent of a
                     8                 parent is to permit the parent to exercise control and
                     9                 discipline over a child until marriage and to that end
                 10                    prevent him, if possible, from contracting an ill-advised
                 11                    marriage. Id. at 642.
                 12           18.     Here, even if Plaintiff’s assessment of the elements were correct, the
                 13       facts Plaintiff cites do not support a judgment in its favor. Plaintiff claims it meets
                 14       both requirements because (a) defendant’s fraud, which was purportedly
                 15       “continuous, intentional, and ripe to be repeated,” and (b) the possibility of further
                 16       fraud. (Ex. No. 189-1 at ¶ 194.) Even if Naifeh or Turner were an appropriate
                 17       standard to apply, these conclusory assertions fall far short of the specificity set
                 18       forth in those cases.
                 19           19.     Plaintiff fails to even establish the contract at issue is voidable. As
                 20       shown above, the absence of a fraud-cancellation clause, coupled with the
                 21       “guaranteed renewable” clause, means the contract is not voidable for fraud.
                 22       Furthermore, even if the contract were voidable, Plaintiff fails to present evidence
                 23       of a specific threatened harm. In Naifeh and Turner, the very continued existence
                 24       of the instruments were definable threats to the plaintiffs in those cases. Here,
                 25       Plaintiff simply asserts a past wrong is likely to repeat. It is not the instrument
                 26       itself that is the threat, but Plaintiff’s perception about the character of the other
                 27       party to the contract. It is a conclusory assumption, not evidence of an impending
                 28       harm.
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                     1        20.     Finally, even if Plaintiff’s bare assertions were sufficient – and they are
                     2    not – those assertions would only be relevant to the Mr. Dallal’s insurance contract.
                     3    As shown above, the contracts for Mr. and Mrs. Dallal are separate and distinct
                     4    agreements, and to cancel Mrs. Dallal’s insurance, Plaintiff would have to show
                     5    fraud specifically material to her coverage, and show an immediate threat of harm
                     6    related to her requests for benefits. Coca Cola Bottling Co. of San Diego, supra 11
                     7    Cal.App.4th at 1188-1189; H. Walter Croskey, et al., California Practice Guide:
                     8    Insurance Litigation, § 5:152 (Aug. 2017). Plaintiff does not do this, and as a result
                     9    cannot justify judgment in its favor regarding Mrs. Dallal’s continued rights.
                 10
                 11                    3.     The remedy Plaintiff seeks is not available under Cal. Civil
                 12                           Code § 1689
                 13           21.     Plaintiff next turns to California Civil Code § 1689 for the proposition
                 14       that contracts may be rescinded if they are harmful to the public interest, or if the
                 15       “contract is unlawful for causes which do not appear in its terms or conditions.”
                 16       Dkt. No. 189-1 at ¶ 195. But this statute is not relevant to the matter at hand. In the
                 17       first place, the statute is specific to rescinding a contract, not voiding it. Further,
                 18       the question is not – as Plaintiff would have it – how the public interest is “best
                 19       served.” Id. Rather, it is whether there is a specific identifiable illegality or harm
                 20       to the public by letting the contract continue.
                 21           22.     For example, in 1920, a lease requiring defendant to cohabit with
                 22       plaintiff as though they were married – although they were not married – was set
                 23       aside as against the public interest, being founded on illegal consideration. Glos v.
                 24       McBride (1920) 47 Cal. App. 688, 689–91. Here, there is no illegal consideration
                 25       and no harm to the public interest in enforcing a valid, legal contract supported by
                 26       valid consideration and consistent payments. Plaintiff’s arguments are no substitute
                 27       for identifiable facts showing an immediate danger of harm, fraud in the formation
                 28       of the contract, or some circumstance rendering the contract itself illegal.
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                                               [PROPOSED] CONCLUSIONS OF LAW
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                     1                 4.     The remedy Plaintiff seeks is not available under Cal. Insurance
                     2                        Code § 359
                     3        23.    Plaintiff next argues California Insurance Code § 359 “requires the
                     4    voiding of an insurance policy based on an insured’s misrepresentations.” (Dkt.
                     5    No. 189-1 at ¶ 196.) But as this Court made clear in its ruling on Plaintiff’s motion
                     6    for summary judgment, Section 359 relates to rescission, not a going-forward
                     7    cancellation or voiding of the contract. Dkt. No. 89 at p. 14. “If a representation is
                     8    false in a material point, whether affirmative or promissory, the injured party is
                     9    entitled to rescind the contract from the time the representation becomes false.”
                 10       Cal. Ins. Code § 359 (emphasis added).
                 11           24.    Section 359 authorizes rescission (not prospective cancellation) because
                 12       it relates to representations made before the formation of the contract. At the outset
                 13       of the Insurance Code chapter in which Section 359 appears, another statute
                 14       provides that a misrepresentation for purposes of that entire chapter “may be made
                 15       at the time of, or before, issuance of policy.” Cal. Ins. Code § 351 (emphasis
                 16       added). Another statute in the same chapter states: “[t]he provisions of this chapter
                 17       apply as well to a modification of a contract of insurance as to its original
                 18       formation.” Cal. Ins. Code § 361.
                 19           25.    Thus, Section 359 authorizes rescission (not prospective cancellation)
                 20       based on fraud or misrepresentations made before the initial formation of the
                 21       insurance contract, or else before (and presumably relating to) a modification of
                 22       that contract. There are no other circumstances where Section 359 applies.
                 23           26.    Plaintiff attempts to discredit the application of Sections 351 and 361 as
                 24       restricting Section 359, arguing “Section titles and headings are not part of the
                 25       statute itself and are not determinative.” Dkt. No. 189-1 at ¶ 201. But Sections 351
                 26       and 361 are not “titles” or “headings” — they are actual statutes, and on their face
                 27       they govern the interpretation of all other statutes within the same chapter.
                 28
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                                              [PROPOSED] CONCLUSIONS OF LAW
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                     1        27.     To support its novel reading of Section 359, Plaintiff relies on Twin City
                     2    Fire Ins. Co. v. Mitsubishi Motor Credit of Am., Inc., 2006 WL 5164189 (C.D. Cal.
                     3    Aug. 15, 2006). (Dkt. No. 189-1 at ¶¶ 199-200.) But even if that case were not an
                     4    extreme outlier (and it is), the policy at issue in that case contained a provision
                     5    specifically allowing the plaintiff to prospectively void the policy on the basis of
                     6    fraud. Twin City Fire Ins. Co., supra, 2006 WL 5164189 at *11-12. As discussed
                     7    above, and as Plaintiff implicitly concedes, no such provision exists in the Policy
                     8    covering Alex and Claire Dallal.
                     9        28.     Further, the court in Twin City specifically denied Twin City’s motion
                 10       for summary judgment on this issue, even in the face of a fraud provision, and
                 11       granted defendant Mitsubishi’s motion for summary judgment, concluding
                 12       Mitsubishi’s purported breaches of the policy were not “material” or “so dominant
                 13       or pervasive as in any real or substantial measure to frustrate the purpose of the
                 14       undertaking. [Citations omitted.]” Id. at *13. The court’s conclusions regarding
                 15       Section 359 were entirely immaterial to the outcome of that case. Also notably, the
                 16       court in Twin City, (or the court in Plaintiff’s other case, American General Life &
                 17       Accident Insurance Company v. Findley, 2013 WL 1120662 (C.D. Cal. Mar. 15,
                 18       2013)), did not consider or analyze Section 359 in the context of Insurance Code
                 19       Sections 351 and 361.
                 20           29.     Even if Twin City were determinative, Plaintiff has not presented any
                 21       facts justifying rescission of the Policy as it relates to Claire Dallal. As noted
                 22       above, even the Twin City court recognized the claimed misrepresentations must be
                 23       “material” to the Policy. Twin City Fire Ins. Co., supra, 2006 WL 5164189 at *13.
                 24       Plaintiff cannot establish that misrepresentations regarding Alex Dallal’s claims are
                 25       material to Claire Dallal’s rights and protections under the Policy.
                 26             ///
                 27             ///
                 28
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                     1                  5.    Plaintiff’s cited case law does not support cancellation of Claire
                     2                        Dallal’s policy
                     3        30.     Plaintiff argues a co-insured’s coverage may be voided if he or she is not
                     4    innocent of the fraud. Dkt. No. 189-1 at ¶ 204. But the cases Plaintiff cites do not
                     5    support its contention. In Watts v. Farmers Ins. Exchange, the policy at issue had a
                     6    fraud-cancellation provision. Watts v. Farmers Ins. Exch. (2002) 98 Cal. App. 4th
                     7    1246, 1248. Furthermore, the court in Watts ruled the co-defendant husband would
                     8    be able to recover under the policy. Id.
                     9        31.     In Essex v. Hartford Fire Ins. Co., the policy also had a fraud provision,
                 10       which the court relied on to justify finding in favor of the insurer. Essex Ins. Co. v.
                 11       Hartford Fire Ins. Co., 2013 WL 3389549, at *7 (C.D. Cal. July 8, 2013). More
                 12       importantly, the Essex court specifically noted its decision in favor of the insurer
                 13       was based on the fact that “Essex is not a coinsured on the Policy.” Id. at *9. Here,
                 14       of course, Claire Dallal is a coinsured on the Policy. Thus, neither Watts nor Essex
                 15       stand for the proposition that an insured may find her policy voided based on fraud
                 16       relating only to claims regarding her co-insured. Whatever Claire Dallal’s role in
                 17       the claims submitted on her husband’s portion of the Policy, Plaintiff has not
                 18       established a material relationship to any alleged fraud relating to Claire Dallal’s
                 19       portion of the Policy. In the absence of a fraud provision, and in the context of a
                 20       noncancelable Policy, such a failure is fatal to Plaintiff’s case.
                 21
                 22             C.      Conclusions of Law: Plaintiff’s Third Claim For Relief
                 23           32.     Based on the foregoing, the Court makes the following conclusions of
                 24       law regarding Plaintiff’s Third Claim for Relief:
                 25                  • As a matter of law, the Policy encompasses two policies, one
                 26                     providing benefits to Alex Dallal and the other providing benefits to
                 27                     Claire Dallal;
                 28
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                     1                • Plaintiffs fail to establish any purported misrepresentations regarding
                     2                   claims on Alex Dallal’s portion of the Policy were “material” to that
                     3                   portion of the Policy providing benefits to Claire Dallal;
                     4                • Plaintiff issued a “guaranteed renewable policy” without any provision
                     5                   allowing Plaintiff to void the Policy in the event of fraud, and has not
                     6                   directed the Court to any facts or authority requiring or even allowing
                     7                   the Court to override the clear intent of the parties with respect to the
                     8                   Policy; and
                     9                • Plaintiff’s claim is barred by the applicable statute of limitations (see
                 10                      discussion below, ¶¶ 38-48); and therefore
                 11                   • Defendant[s] (1) Claire Dallal [and/or] (2) Alex Dallal prevail against
                 12                      Plaintiff’s Third Claim for Relief, and judgment is rendered
                 13                      accordingly.
                 14
                 15       II.    PLAINTIFF IS NOT ENTITLED TO JUDGMENT ON ITS FIRST
                 16              CLAIM FOR RELIEF
                 17             33.     Lincoln fails to meet its burden, and does not establish it is entitled to a
                 18       declaration that Mr. Dallal is not entitled to any benefits from 2004 through
                 19       December 2016.
                 20
                 21              A.      Plaintiff Misstates Defendant’s Burden
                 22             34.     Plaintiff attempts to muddy the issue by imposing an artificially high
                 23       burden on Mr. Dallal, claiming Mr. Dallal must now prove his right to benefits,
                 24       without citation to any authority. Dkt. No. 189-1 at ¶ 208. Even if Mr. Dallal bears
                 25       an initial burden, it is only to show that he had a right to benefits under the Policy,
                 26       or – at most – that the claims themselves, on their face, entitle him to benefits under
                 27       the policy.
                 28
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                     1
                     2        35.     Mr. Dallal meets this burden, because each claim at issue was made was
                     3    for care within the scope of that contract, and Plaintiff presented no proof that the
                     4    claims were outside the scope of coverage. Indeed, Plaintiff concedes the claims
                     5    themselves fall within the scope of coverage, as it reviewed and paid on those
                     6    claims. Dkt. No. 189-1 at ¶¶ 45-46; Norman Seeman Trial Transcript (“TT”)
                     7    1069:25-1070:7; Sarkisian TT 236:7-17; Claire Dallal TT 351:12-16; Exh. 349-01.
                     8
                     9          B.     Plaintiff Fails to Meet Its Own Burden
                 10           36.     Therefore, to prevail on its First Claim for Relief, Plaintiff must
                 11       establish that Mr. Dallal could never be eligible for benefits under the Policy, even
                 12       in the case of a claim that Plaintiff would agree was truthful. To do so, Plaintiff
                 13       must in effect establish that the Policy could be rescinded from the time of its
                 14       formation, or (in the case of future benefits) that a statute or contractual provision
                 15       allows Plaintiff to rescind or void the Policy as to Mr. Dallal.
                 16           37.     As shown above regarding its Third Claim for Relief, Plaintiff cannot
                 17       meet its burden, because no contractual provision or statute authorizes Plaintiff to
                 18       rescind the Policy, or void it going forward. Further, Plaintiff fails to identify any
                 19       facts showing Mr. Dallal would have been ineligible for benefits under the Policy
                 20       as – for example – a Chronically Ill Individual, if such a claim were supported by
                 21       truthful documentation of the caregiving services received.
                 22           38.     Plaintiff refers to the jury verdict regarding the statute of limitations,
                 23       arguing that its claims should not be barred based on that determination. Dkt. No.
                 24       189-1 at ¶ 212. This reasoning is flawed. Plaintiff is correct the jury checked the
                 25       line supporting Plaintiff with respect to the statute of limitations (id. at p. 2:20-24),
                 26       but the same jury did not allow Plaintiff to recover as damages the entirety of the
                 27       funds paid for the care of Mr. Dallal. Indeed, the jury award is $141,935.40 less
                 28       than the amount Plaintiff paid for Mr. Dallal’s care. Compare Dkt. No. 172 at p. 2,
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                     1    Question 8, and TE 349 at 349-03. In light of its other findings, the jury’s refusal to
                     2    grant Plaintiff the amount it demanded can only be explained by assuming the jury
                     3    agreed a statute of limitations applied to at least some portion of the funds at issue.
                     4        39.    At a minimum, the jury’s award of $141,935.40 less than the amount
                     5    Plaintiff paid out for Alex Dallal’s care indicates the jury’s understanding that Alex
                     6    Dallal was in fact entitled to some benefits under the Policy. If he was not, the jury
                     7    would have awarded Plaintiff a full reimbursement.
                     8        40.    Finally, the applicable statute of limitations in this case is three years.
                     9    Cal. Code Civ. Proc. § 338(d); Sun’n Sand, Inc. v. United California Bank (1978)
                 10       21 Cal.3d 671, 701; Fox v. Ethicon Endo-Surgery, Inc. (2005) 35 Cal.4th 797,
                 11       808; Kline v. Turner (2001) 87 Cal.App.4th 1369, 1374. Unless an exception
                 12       applies, Plaintiff would not be entitled to relief for any acts or wrongs occurring
                 13       more than three years before Dec. 16, 2016, the date it filed the present suit.
                 14       Plaintiff contends the delayed discovery rule applies, as codified in Section 338(d):
                 15                    Within three years: (d) An action for relief on the
                 16                    ground of fraud or mistake…[is] not deemed to have
                 17                    accrued until the discovery, by the aggrieved party, of
                 18                    the facts constituting the fraud or mistake.
                 19           41.    The delayed discovery rule tolls the statute of limitations only until the
                 20       aggrieved party is informed of the fraud, or is apprised of “facts that would lead a
                 21       reasonably prudent person to suspect fraud.” Doe v. Roman Catholic Bishop of
                 22       Sacramento (2010) 189 Cal.App.4th 1423, 1430; Robuck v. Dean Witter & Co., 649
                 23       F.2d 641, 643 (9th Cir. 1980). If a party acting with “reasonable diligence” could
                 24       have discovered the fraud, the statute of limitations no longer tolls. Robuck, supra,
                 25       649 F.2d at 643; Lin v. Lin, 2008 WL 4369771, at *5–6 (D. Haw. Sept. 24, 2008).
                 26           42.    When the delayed discovery rule is at issue, the Plaintiff – not the
                 27       Defendant – bears the burden of proving he or she was not in possession of
                 28       adequate facts, and/or acted with reasonable diligence upon discovering facts which
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                     1    would have led a person with reasonable diligence to discover the fraud. Samuels
                     2    v. Mix (1999) 22 Cal.4th 1, 14. Stated differently, the fraudulent concealment
                     3    doctrine tolls the limitations period only as long as a plaintiff’s reliance on the
                     4    defendant’s misrepresentations is reasonable. (Grisham v. Phillip Morris U.S.A.,
                     5    Inc. (2007) 40 Cal.4th 623, 637.) Whether reliance is reasonable is generally a
                     6    question of fact, but may be decided as a matter of law “if the facts permit
                     7    reasonable minds to come to just one conclusion.” Id. at 637–638, quoting Boeken
                     8    v. Philip Morris, Inc. (2005) 127 Cal.App.4th 1640, 1666.
                     9        43.    At trial in the present matter, Plaintiff’s testimony established that
                 10       Plaintiff triggered its investigation into Mr. Dallal’s claims based on a physician
                 11       report showing an improvement in Mr. Dallal’s condition. See Defendants’
                 12       concurrently-filed [Proposed] Findings of Fact at ¶ 23. Plaintiff’s testimony and
                 13       other evidence further established Plaintiff was aware of the same or similar
                 14       improvements in earlier years – in particular 2009 and 2012 – but did not launch an
                 15       investigation. Id. at ¶ 24. Plaintiff also had other indicators which should have
                 16       prompted a reasonably diligent person to at least begin an investigation — for
                 17       example, Plaintiff knew since 2009 it was providing reimbursement for the care of
                 18       Alexander Dallal based on claims that a single caregiver was working at least 80
                 19       hours per week, every week of the year. Id. at ¶ 25; Seeman TT at 1152:13-16.
                 20           44.    An aggrieved party may generally rely on assurances, but it may not
                 21       “fall asleep.” Alfaro v. Cmty. Hous. Improvement Sys. & Planning Assn., Inc.
                 22       (2009) 171 Cal. App. 4th 1356, 1394. Once presented with facts which would raise
                 23       a reasonably prudent person’s suspicions, Plaintiff had a duty to investigate further,
                 24       and is “charged with knowledge of matters which would have been revealed by
                 25       such an investigation.” Miller v. Bechtel Corp. (1983) 33 Cal.3d 868, 875; see also
                 26       Rutherford v. Rideout Bank (1938) 11 Cal.2d 479, 486.
                 27
                 28
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                     1        45.     Here, Plaintiff admits Mr. Dallal’s improvement in 2016 triggered its
                     2    investigation, which investigation uncovered the facts ultimately leading to the
                     3    present suit. [Defendants’ Proposed] Findings of Fact at ¶ 23; TE 197; Dkt. No.
                     4    189-1 at Proposed Finding of Fact No. 115; Seeman TT at 1075:2-22 and 1185:15-
                     5    1186:16; Sarkisian TT at 242:19-244:23. By launching an investigation based on
                     6    this minor improvement, Plaintiff sets the bar for a “reasonably prudent” response
                     7    to such an improvement.
                     8        46.    The record also demonstrates the same or similar improvement by Mr.
                     9    Dallal in, at a minimum, 2009 and 2012. [Defendants’ Proposed] Findings of Fact
                 10       at ¶ 24; TE 190; TE 191; Feld Depo at 76:25, 77:1-19, 92:14-25, 93:1-3, 93:21-25,
                 11       95:13-22, 101:1-25, 102:1-4, 103:20-25, 104:1-21, 147:12-25, 160:14-25, 190:1-21,
                 12       211:19-25, 212:1-4, 223:2-14, 237:19-25, 238:1-8, 273:13-22; Seeman TT at
                 13       1167:8-1171:4. If Plaintiff’s actions in 2016 were “reasonably prudent,” its failure
                 14       to act when presented with the same or similar information in earlier years displays
                 15       a lack of “reasonable prudence.”
                 16           47.    Thus, the available evidence as presented at trial demonstrates that for
                 17       years Plaintiff ignored and failed to investigate the same facts which led it to launch
                 18       its investigation in 2016. Reasonable minds can reach only one conclusion — that
                 19       Plaintiff failed to act as a reasonable person when presented with improvements in
                 20       Mr. Dallal’s condition in 2009 and 2012.
                 21           48.    Further, Plaintiff is an insurance company, and part of its business is
                 22       identifying and investigating fraud. It writes clauses into its policies designed to
                 23       aid it in the investigation and discovery of fraudulent claims, including the Policy at
                 24       issue in this litigation, and even though the Policy at issue did not have a fraud
                 25       cancellation clause. TE 301 at 301-11, Part 6(H). Plaintiff can send its own nurses
                 26       and physicians to perform their own independent tests on an insured, even if no
                 27       fraud is suspected. Id. Plaintiff even presented witnesses – Norman Seeman and
                 28       Meg Sarkesian – whose jobs were dedicated to investigating fraud. Yet even with
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                     1    these safeguards, and even though Plaintiff regularly conducts investigations, it did
                     2    not do so here, for years. This complacency in using its considerable powers and
                     3    experience emphasizes the extent to which Plaintiff did not act with reasonable
                     4    diligence. Consequently, Plaintiff’s claims are barred by application of the statute
                     5    of limitations. Cal. Code Civ. Proc. § 338(d).
                     6
                     7            C.      Conclusions of Law: Plaintiff’s First Claim for Relief
                     8           49.    Based on the foregoing, the Court makes the following conclusions of
                     9    law:
                 10                    • Plaintiff issued a “guaranteed renewable policy” without any provision
                 11                       allowing Plaintiff to void the Policy in the event of fraud, and has not
                 12                       directed the Court to any facts or authority requiring or even allowing
                 13                       the Court to override the clear intent of the parties with respect to the
                 14                       Policy; and
                 15                    • Defendant Alex Dallal has met any burden of proof imposed on him
                 16                       with respect to Plaintiff’s First Claim for Relief; and
                 17                    • Plaintiff fails to meet its burden and establish its right to a declaratory
                 18                       judgment that Alex Dallal was not entitled to any benefits from 2004
                 19                       through December 2016; and
                 20                    • Plaintiff did not act with reasonable diligence; and therefore
                 21                    • Defendant Alex Dallal prevails against Plaintiff’s First Claim for
                 22                       Relief, and judgment is rendered accordingly.
                 23
                 24
                 25
                 26       Dated: _____, 2018
                                                                   HON. MICHAEL W. FITZGERALD
                 27                                                United States District Court Judge
                 28
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